Case 3:17-cv-03755-FLW-DEA Document 15 Filed 06/13/17 Page 1 of 1 PagelD: 361

UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

BRYAN MESSENGER,
Plaintiff(s) : Civil Action No. 3:17-cy-03755-FLW-DEA

Vv.
NATIONAL BOARD OF MEDICAL

EXAMINERS,
Defendant(s)

REQUEST BY LOCAL COUNSEL FOR
PRO HAC VICE ATTORNEY
TO RECEIVE ELECTRONIC NOTIFICATION

Request is hereby made by local counsel for pro fac vice counsel to receive electronic notification in the within
matter, and it is represented that:

1, An order of the Court granting a motion to appear pro hae vice in the within matter has been entered: and

2. If admission was granted after March 22, 2005, the Admission Fee, in the amount of $150, pursuant to
L.Civ.R. 101.1(c)(3), has bcen paid to the Clerk of the Court.

ie e+

Signature of Local Counsel

FEW Ce GALANT

PRO HAC VICE ATTORNEY INFORMATION:

 

Name: Robert A. Burgoyne, Esq.

 

Address: Norton Rose Fulbright US LLP
799 9th Street NW

 

Suite 1000

 

Washington, DC 20001-4501

 

e-Mail: robert.burgoyne@nortonrosefulbright.com
(one email address only)

Instructions for LOCAL COUNSEL for filing:

. Select the Case Type (Civil) from the menu bar at the top of your screen.
. Click on Notices.

. Select the event, Notice of Pro Hac Vice to Receive NEF.

. Enter the case for which the Request is being filed.

. Select the PDF document to file.

6. Proofread the docket text.

7. Submit the Request to ECF by clicking the NEXT button.

WaPo Ne

DNJ-CMECF-002
